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                                                              JS-6




                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




     JOHN AUGUST,                       CV 21-2635 DSF (PVCx)
         Plaintiff,
                                        JUDGMENT
                     v.

     UNITED STATES OF AMERICA,
         Defendant.



       The Court having granted a motion to dismiss and Plaintiff having
    not amended his complaint within the time allowed by the Court,

       IT IS ORDERED AND ADJUDGED that Plaintiff take nothing, that
    the action be dismissed with prejudice, and that Defendant recover
    costs of suit pursuant to a bill of costs filed in accordance with 28
    U.S.C. § 1920.



     Date: November 12, 2021            ___________________________
                                        Dale S. Fischer
                                        United States District Judge
